Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 1 of 22




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                       24-20253-CR-BECERRA/TORRES
                         Case No. ------------
                                       18 u.s.c. § 1349                                     MP
                                       18 u.s.c. § 1347
                                       18 u.s.c. § 1343
                                       18 u.s.c. § 2                             Jun 18, 2024
                                       18 U.S.C. § 982(a)(7)
                                       18 U.S.C. § 981(a)(l)(C)
                                                                                               MIAMI

 UNITED STATES OF AMERICA

 vs.

 ANGELICA PACHECO,

                       Defendant.

 -----------------
                                          INDICTMENT

        The Grand Jury charges that:

                                  GENERAL ALLEGATIONS

        At all times material to this Indictment:

                                Drug and Alcohol Rehabilitation

        1.      Substance abuse treatment regulations described a continuum of care for patients

 experiencing substance abuse including, from most intensive to least intensive, detox, residential

 treatment, partial hospitalization ("PHP"), intensive outpatient ("IOP"), and outpatient ("OP").

 The varying levels of treatment provided were based on the severity of a patient's addiction and

 the patient's current symptoms. Persons undergoing treatment on an outpatient basis, whether in

 PHP, IOP, or OP, often elected to live in a "recovery residence," also known as a "sober home,"

 "halfvvay house," or in some cases "community housing," with other persons who were also in
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 2 of 22



 treatment and committed to a drug- and alcohol-free lifestyle. While these terms for the residences

 are commonly interchanged, they are referred to herein as "sober homes."

        2.      The Florida Department of Children and Families ("DCF"), which regulated and

 licensed treatment facilities in Florida, referred to PHP as Day or Night Treatment with

 Community Housing. Unlike IOP or OP patients who elected to live in a recovery residence (also

 known as a "sober home") and were required to pay their own rent or room and board, in a Day or

 Night Treatment with Community Housing (or PHP) program, room, board, and transportation

 were provided by the program.

        3.      Detox facilities assisted patients in dealing with the effects of withdrawal from the

 complete cessation of using drugs and/or alcohol. In cases where detox was necessary, patients

 who successfully completed detox or other inpatient services then received treatment for their

 underlying addiction in the form of outpatient care, through either PHP, IOP, and/or OP programs.

 However, not all patients required detox before attending outpatient care.

        4.      PHP, IOP, and OP patients attended facilities on an ongoing basis where treatment

 was rendered, generally in the form of group and individual therapy sessions. The distinction

 among the three different treatment plans related to, among other things, the amount of therapy

 time provided on a daily or weekly basis.

        5.      Medical and osteopathic doctors played an essential role in substance abuse

 treatment. Without a doctor, patients at the substance abuse treatment centers would not have

 received prescriptions for drugs, received treatment, or had urine, blood, or other bodily fluid

 testing. Bodily fluid tests, which were prescribed by the doctors, were billed to health plans by the

 substance abuse treatment centers and/or laboratories, as were patient evaluations performed by a

 physician.



                                                  2
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 3 of 22




        6.      DCF licensed and oversaw substance abuse treatment centers that provided detox,

 other inpatient treatment, PHP, IOP, and OP programs in Florida. Florida state regulations

 governed substance abuse treatment services, including standards for detox, other inpatient

 treatment, PHP, IOP and OP. See, e.g., FL Admin. Code §§ 65D-30.006, 65D-30.007, 65D-

 30.0081, 65D-30.0091 and 65D-30.010. One of the requirements that DCF placed on certain

 facilities was that they have a medical director.

        7.      In Florida, substance abuse treatment services were governed by the "Hal S.

 Marchman Alcohol and Other Drug Services Act" ("the Marchman Act"), FL Stat. § 397.301.

 Under the Marchman Act, private substance abuse service providers' policies regarding payment

 for services had to comply with federal and state law. FL Stat. § 397.431.

        8.      All "clinical treatment" under the Marchman Act was required to be "a

 professionally directed, deliberate, and planned regimen of services and interventions that [were]

 designed to reduce or eliminate the misuse of drugs and alcohol and promote a healthy, drug-free

 lifestyle." FL Stat. § 397.311(26)(a).

        9.      The U.S. Department of Health and Human Services, Substance Abuse and Mental

 Health Services Administration, Center for Substance Abuse Treatment ("SAMHSA") also

 promulgated guidelines for varying levels of treatment based on the severity of the addiction,

 including detox and IOP.

        10.     The American Society of Addiction Medicine ("ASAM") was a professional

 medical society representing over 6,000 physicians, clinicians, and associated professionals in the

 field of addiction medicine. ASAM published the ASAM Criteria, which was a collection of

 objective guidelines that gave clinicians a way to standardize treatment planning and the placement




                                                     3
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 4 of 22




 of patients in a substance abuse treatment center, as well as how to provide continuing, integrated

 care and ongoing service planning, including for detox, PHP, IOP, and OP treatment services.

         11.    The Controlled Substances Act ("CSA") governed the manufacture, distribution,

 and dispensing of controlled substances in the United States. With limited exceptions for medical

 professionals, the CSA made it unlawful for any person to knowingly or intentionally manufacture,

 distribute, or dispense a controlled substance or conspire to do so.

         12.    The CSA and its implementing regulations set forth which drugs and other

 substances were defined by law as "controlled substances," and assigned those controlled

 substances to one of five schedules (Schedule I, II, III, IV, or V) depending on their potential for

 abuse, likelihood of physical or psychological dependency, accepted medical use, and accepted

 safety for use under medical supervision.

         13.    Medical practitioners, such as physicians and nurse practitioners, who were

 authorized to prescribe controlled substances by the jurisdiction in which they were licensed to

 practice medicine, were authorized under the CSA to prescribe, or otherwise distribute, controlled

 substances, if they were registered with the Attorney General of the United States. 21 U.S.C. §

  822(b); 21 C.F.R. § 1306.03.     Upon application by the practitioner, the Drug Enforcement

 Administration ("DEA") assigned a unique registration number, also known as a "DEA number,"

 to each qualifying medical practitioner, including physicians and nurse practitioners.

         14.    One form of treatment for substance abuse involved the use of a prescribed

 controlled substance, buprenorphine, which was an opioid. Buprenorphine was sometimes used

 in substance abuse treatment to wean opioid-addicted patients from opioids, including heroin and

 narcotic painkillers. Because drugs containing buprenorphine were Schedule III controlled

  substances, meaning that there was a strong potential for abuse, resulting in fatal and non-fatal



                                                   4
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 5 of 22




 overdoses, prescribing physicians were also required to have two DEA registrations. The first

 registration was the standard "DEA number" referenced above that was required to prescribe any

 controlled substance. The second registration was a "DEA X-number," which was granted to a

 limited number of physicians with valid "DEA numbers," who had completed a training program

 on substance abuse treatment and fulfilled other regulatory requirements.

                       Bodily Fluid Testing in Substance Abuse Treatment

          15.   One monitoring strategy used by substance abuse treatment centers and medical

 professionals to detect recent drug or alcohol use by a patient was urine drug testing (and blood

 testing). There were two primary categories of urine drug testing: immunoassay testing (e.g., a

 drug screen or point of care ("POC") testing) and specific drug identification testing (e.g.,

 definitive, or confirmatory, testing).

          16.   POC urine testing involved collecting urine in a specific cup designed for testing.

 The specimen was analyzed using a color band or numbered dipstick, allowing for visual positive

 or negative results. POC urine testing usually tested for the presence of 9 to 13 specific types of

 drugs. POC tests typically cost between $5 and $10 and could be read easily by a layperson. This

 testing was convenient, and less costly, and the results could be read quickly. POC testing was the

 most common form of urine testing performed at treatment facilities. Drug screens that test for the

 presence of specific types of drugs could also be performed by external laboratories for additional

 costs.

          17.   Definitive (or confirmatory) urine drug tests used gas liquid chromatography-mass

 spectrometry ("LCMS") and/or gas chromatography, or high-performance liquid chromatography,

 to analyze the urine specimen. These techniques were highly sensitive, and accurately and

 definitively identified specific substances and the quantitative concentrations of the drugs or their


                                                  5
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 6 of 22




 metabolites. This testing was more precise, more sensitive, and detected more substances than

 other types of urine testing. Results of definitive testing took longer, and the tests were

 significantly more expensive than POC testing or drug screens; single urine specimens that

 underwent drug screen analyzers and LCMS testing at outside laboratories could be billed to

 insurance companies for thousands of dollars.

                           Payment for Substance Abuse Treatment

        18.     Insurance coverage for substance abuse treatment and urine and blood testing was

 available through a number of avenues, including, but not limited to, the following private

 insurance companies: Aetna Health Management LLC and Aetna Life Insurance for Members

 ("Aetna"), Blue Cross/Blue Shield ("BCBS"), Cigna Healthcare ("Cigna"), United Behavioral

 Health and United Health Group, Inc. ("United"), and Optum Health ("Optum") (collectively,

 "Insurance Plans"). The Insurance Plans offered health care coverage directly to consumers and

 through employers. They also managed health care plans offered to federal employees. The

 Insurance Plans covered medical and clinical treatment costs of rehabilitation in accordance with

 the terms of their policies and state and federal law, including requirements that addiction

 treatment services and testing be medically necessary.

        19.     Under the terms of insurance policies and consistent with state and federal law, the

 Insurance Plans were only responsible for claims for services that: (a) were medically necessary

 and actually rendered, (b) were provided by a properly licensed service provider, and (c) complied

 with the terms of the health care plans, including the obligation to pay co-insurance and

 deductibles.

        20.     The Insurance Plans were "health care benefit program[s]," as defined in Title 18,

 United States Code, Section 24(b).



                                                 6
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 7 of 22




         21.    Typically, health care providers, including substance abuse treatment facilities,

 laboratories, and medical professionals, submitted claims for substance abuse treatment and bodily

 fluid testing to the Insurance Plans electronically, via interstate wires.

          The Small Business Administration, the COVID-19 Emergency, and the CARES Act

         22.     The Coronavirus Aid, Relief, and Economic Security ("CARES") Act was a federal

 law enacted in March 2020 to provide emergency financial assistance to Americans suffering

 economic harms from the COVID-19 pandemic. To achieve this goal, the CARES Act established

 new temporary programs and expanded existing programs administered by the United States Small

 Business Administration ("SBA").

                                 The Paycheck Protection Program

         23.     One source of relief provided by the CARES Act was the authorization of

 forgivable loans to small businesses for job retention and certain other expenses, through a

 program referred to as the Paycheck Protection Program ("PPP").

         24.     In order to obtain a PPP loan, a qualifying business submitted a PPP loan

 application, which was signed by an authorized representative of the business. The PPP loan

 application required the business (through its authorized representative) to acknowledge the

 program rules and make certain affirmative certifications in order to be eligible to obtain the PPP

 loan, including that the business was in operation on February 15, 2020. In the PPP loan

 application (SBA Form 2483), the small business was also required to provide, among other things,

 its (a) average monthly payroll expenses and (b) number of employees. These figures were used

 to calculate the amount of money the small business was eligible to receive under the PPP. In

 addition, businesses applying for a PPP loan were required to provide documentation of their




                                                    7
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 8 of 22




 payroll expenses. The PPP loan applicant was also required to affirmatively certify that "[t]he

 Applicant is not engaged in an activity that is illegal under federal, state or local law."

       25.     The CARES Act required PPP loan applications to be processed by a participating

 lender. If a PPP loan application was approved, the participating lender funded the PPP loan using

 its own monies, which were guaranteed by the SBA. Data from the application, including

 information about the borrower, the total amount of the loan, and the listed number of employees,

 were transmitted by the lender to the SBA in the course of processing the loan.

        26.     PPP loan proceeds were required to be used by the business on certain permissible

 expenses-payroll costs, interest on mortgages, rent, and utilities. The PPP allowed the interest

 and principal on the PPP loan to be entirely forgiven if the business spent the loan proceeds on

 these expense items within a designated period of time and used a defined portion of the PPP loan

 proceeds on payroll expenses.

        27.     SBA loan processors participated in the PPP by, among other things, acting as a

 service provider for small businesses and certain lenders. Small businesses seeking a PPP loan

 could apply through the SBA loan processor, which would review the PPP loan application. If a

 PPP loan application received was approved for funding, a partner financial institution disbursed

 the loan funds to the applicant.

                          The Economic Injury Disaster Loan Program

        28.     The CARES Act also authorized and provided funding to the SBA to provide

 Economic Injury Disaster Loans ("EIDL") to eligible small businesses experiencing substantial

 financial disruptions due to the COVID-19 pandemic. These COVID-19 EIDLs included the

 possibility of an advance of up to $10,000 for qualifying applicants. The applicant was not

 obligated to repay this advance.



                                                   8
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 9 of 22




        29.      In order to obtain a COVID-19 EIDL, a qualifying business was required to submit

 an EIDL application to the SBA and provide information about its operations, including the

 number of employees, gross revenues, and cost of goods sold for the 12-month period preceding

 January 31, 2020. The applicant was further required to "review and check all of the following"

 statements, which included a statement that the "Applicant is not engaged in any illegal activity

 (as defined by Federal guidelines)." If the applicant was "unable to check all of the" certifications,

 the "Applicant [was] not an Eligible Entity." The applicant was also required to certify that all of

 the information in the application was true and correct to the best of the applicant's knowledge.

        30.     EIDL applications were submitted directly to the SBA and processed by the SBA

 with support from a government contractor. The amount of the loan, if the application was

 approved, was determined based, in part, on the information provided in the application concerning

 the number of employees, gross revenues, and cost of goods sold. Any funds issued under an

 EIDL were issued directly by the SBA to the applicant's bank account. EIDL funds could be used

 for payroll expenses, sick leave, production costs, and business obligations, such as debts, rent,

 and mortgage payments.

                        The Defendant and Relevant Entities and Individual

                                     The Treatment Programs

         31.    Florida Life Recovery and Rehabilitation LLC ("Florida Life") was a limited

 liability company formed under the laws of Florida, with its principal place of business in Miami­

 Dade County. Florida Life was a substance abuse treatment center licensed with DCF that

 purportedly provided PHP, IOP, and OP services to individuals, including individuals covered by

 the Insurance Plans.




                                                   9
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 10 of 22



                                     The Clinical Laboratories

         32.      Lab 1 was a limited liability company formed under the laws of Florida, with its

  principal place of business in Broward County, Florida.

         33.      Lab 2 was a limited liability company formed under the laws of Florida, with its

  principal place of business in Broward County, Florida.

         34.      Lab 3 was a Florida corporation, with its principal place of business in Miami-Dade

  County, Florida.

         35.      Lab 4 (together with Lab 1, Lab 2, and Lab 3, the "Clinical Laboratories") was a

  Pennsylvania corporation.

                                          Additional Entity

         36.      Second Chance Detox, LLC (d/b/a/ Compass Detox) ("Compass Detox") was a

  limited liability company formed under the laws of Florida, with its principal place of business in

  Broward County. Compass Detox was a substance abuse treatment center licensed with DCF that

  purportedly provided individuals with substance abuse treatment and services.

                                        Financial Institutions

         37.      Lender 1 was a financial institution that participated as a lender in the Paycheck

  Protection Program. Lender 1 was a "financial institution" within the meaning of Title 18, United

  States Code, Section 20.

                              The Defendant and Relevant Individual

         38.      ANGELICA PACHECO, a resident of Miami-Dade County, was a registered

  nurse, employee, and beneficial owner of Florida Life.

         39.      Individual 1, a resident of Miami-Dade County, was the Medical Director for

  Florida Life.
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 11 of 22




                                            COUNTl
                      Conspiracy to Commit Health Care Fraud and Wire Fraud
                                        (18 u.s.c. § 1349)

          I.     Paragraphs 1 through 21 and 31 through 39 of the General Allegations section of

  this Indictment are realleged and incorporated by reference as if fully set forth herein.

         2.      From in or around July 2017, and continuing through in or around August 2020, in

  Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendant,

                                      ANGELICA PACHECO,

  did knowingly and willfully, that is, with the intent to further the objects of the conspiracy,

  combine, conspire, confederate, and agree with Individual 1, and others known and unknown to

  the Grand Jury:

                 a.       to knowingly and willfully execute a scheme and artifice to defraud a health

  care benefit program affecting commerce, as defined in Title 18, United States Code, Section

  24(b), that is, the Insurance Plans, and to obtain, by means of materially false and fraudulent

  pretenses, representations, and promises, money and property owned by, and under the custody

  and control of, said health care benefit programs, in connection with the delivery of and payment

  for health care benefits, items, and services, in violation of Title 18, United States Code, Section

  1347; and

                 b.       to knowingly, and with the intent to defraud, devise and intend to devise a

  scheme and artifice to defraud and for obtaining money and property by means of materially false

  and :fraudulent pretenses, representations, and promises, knowing the pretenses, representations,

  and promises were false and :fraudulent when made, and for the purpose of executing the scheme

  and artifice, did knowingly transmit and cause to be transmitted by means of wire communication




                                                   11
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 12 of 22




  in interstate commerce, certain writings, signs, signals, pictures, and sounds, in violation of Title

  18, United States Code, Section 1343.

                                PURPOSE OF THE CONSPIRACY

         3.      It was a purpose of the conspiracy for the defendant and her co-conspirators to

  unlawfully enrich themselves by, among other things: (a) submitting and causing the submission

  of false and fraudulent claims to health care benefit programs via interstate wire communications;

  (b) concealing the submission of false and fraudulent claims to health care benefit programs; (c)

  concealing the receipt of the fraud proceeds; and (d) diverting the fraud proceeds for their personal

  use and benefit, and the use and benefit of others, and to further the fraud.

                        MANNER AND MEANS OF THE CONSPIRACY

         The manner and means by which the defendant and her co-conspirators sought to

  accomplish the objects and purpose of the conspiracy included, among others, the following:

         4.      ANGELICA PACHECO and her co-conspirators established, operated, and

  controlled Florida Life, which was purportedly in the business of providing effective clinical

  treatment services for persons suffering from alcohol and drug addiction.

          5.     To obtain and retain patients for Florida Life whose insurance-including the

  Insurance Plans-could be billed for substance abuse services, ANGELICA PACHECO and her

  co-conspirators offered and paid kickbacks and bribes in the form of money, gift cards, free

  interstate flights, allowing one patient to "piggyback" on another patient's insurance, and offering

  other "scholarships" in exchange for a patient referring other individuals with insurance (including

  individuals covered by the Insurance Plans).

          6.     ANGELICA PACHECO and her co-conspirators entered into agreements with

  some of the owners of the Clinical Laboratories to send urine samples for comprehensive analysis



                                                   12
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 13 of 22




  in return for referring patients to Florida Life. PACHECO and her co-conspirators also entered

  into reciprocal referral agreements with other affiliated substance abuse treatment centers that

  involved recycling the same patients back and forth through the different treatment centers,

  regardless of whether doing so was medically necessary, so that they could continue to bill the

  Insurance Plans.

         7.       In order to keep patients docile and incentivize them to attend and remain at Florida

  Life, ANGELICA PACHECO, Individual 1, and their co-conspirators prescribed, caused to be

  prescribed, administered, and caused to be administered to Florida Life patients, medications,

  including controlled substances, prescription medications, such as buprenorphine, and over-the­

  counter medications, in quantities and combinations that at times grossly diverged from legitimate

  medical practice, and which were intended to offer patients a substitute for a narcotic or alcohol­

  induced high.

          8.      ANGELICA PACHECO, Individual 1, and their co-conspirators billed and

  caused to be billed to the Insurance Plans PHP, IOP, and OP services for Florida Life patients. In
                                                    -,
  many instances, patients did not attend the purported PHP, IOP, and OP sessions at Florida Life.

  The services were frequently not provided as billed, were so substandard that they failed to serve

  a treatment purpose, and/or were medically unnecessary.

         9.       ANGELICA PACHECO, Individual 1, and their co-conspirators created or

  caused to be created therapy notes for Florida Life falsely reflecting that therapy was actually

  provided when it was not.

          10.     ANGELICA PACHECO, Individual 1, and their co-conspirators billed and

  caused to be billed to the Insurance Plans PHP, IOP, and OP services for patients who were not in

  fact enrolled in treatment at Florida Life at the time.


                                                    13
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 14 of 22




         11.     ANGELICA PACHECO, Individual 1, and their co-conspirators also ordered and

  caused to be ordered excessive and expensive urine drug and bodily fluid testing for Florida Life's

  patients, regardless ofwhether such testing was medically necessary, or used in treatment.

         12.     ANGELICA PACHECO, Individual 1, and their co-conspirators submitted and

  caused others to submit, via interstate wire communications, approximately $15,406,913 in claims

  to the Insurance Plans which falsely and fraudulently represented that various health care benefits,

  primarily substance abuse PHP, IOP, and OP services, were medically necessary, prescribed by a

  doctor, actually provided, and provided as billed by Florida Life to individuals covered by the

  Insurance Plans.

         13.     As a result ofsuch false and fraudulent claims, the Insurance Plans made payments

  to the corporate bank accounts ofFlorida Life, in the approximate amount of$3,765,952.

         14.     ANGELICA PACHECO, Individual 1, and their co-conspirators caused the

   Clinical Laboratories to submit, via interstate wire communications, approximately $3,729,732

   in claims to the Insurance Plans which falsely and fraudulently represented that various health

   care benefits, primarily laboratory testing services such as definitive urine drug tests, were

   medically necessary and prescribed by a doctor to individuals covered by the Insurance Plans.

         15.     As a result of such false and fraudulent claims, the Insurance Plans made payments

  to the corporate bank accounts ofthe Clinical Laboratories in the approximate amount of$520,462.

         16.     ANGELICA PACHECO, Individual 1, and their co-conspirators used the

  proceeds ofthe fraud for their personal use and benefit, the use and benefit ofothers, and to further

  the fraud scheme.

         All in violation of Title 18, United States Code, Section 1349.




                                                   14
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 15 of 22




                                            COUNTS2-6
                                          Health Care Fraud
                                          (18 u.s.c. § 1347)

         1.      Paragraphs 1 through 21 and 31 through 39 of the General Allegations section of

  this Indictment are realleged and incorporated by reference as if fully set forth herein.

         2.      From in or around July 2017, and continuing through in or around August 2020, in

  Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendant,

                                      ANGELICA PACHECO,

  in connection with the delivery of and payment for health care benefits, items, and services, did

  knowingly and willfully execute, and attempt to execute, a scheme and artifice to defraud a health

  care benefit program affecting commerce, as defined in Title 18, United States Code, Section

  24(b), that is, the Insurance Plans, and to obtain, by means of materially false and fraudulent

  pretenses, representations, and promises, money and property owned by, and under the custody

  and control of, said health care benefit programs.

                         PURPOSE OF THE SCHEME AND ARTIFICE

         3.      It was a purpose of the scheme and artifice for the defendant and her accomplices

  to unlawfully enrich themselves by, among other things:           (a) submitting and causing the

  submission of false and fraudulent claims to health care benefit programs via interstate wire

  communications; (b) concealing the submission of false and fraudulent claims to health care

  benefit programs; (c) concealing the receipt of the fraud proceeds; and (d) diverting the fraud

  proceeds for their personal use and benefit, the use and benefit of others, and to further the fraud.




                                                   15
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 16 of 22




                                  THE SCHEME AND ARTIFICE

           4.      The allegations contained in the Manner and Means section of Count 1 are re-

  alleged and incorporated by reference as though fully set forth herein as a description of the scheme

  and artifice.

                  ACTS IN EXECUTION OR ATTEMPTED EXECUTION OF THE
                                SCHEME AND ARTIFICE

          5.       On or about the dates as to each count set forth below, in Miami-Dade County, in

  the Southern District of Florida, and elsewhere, the defendant, ANGELICA PACHECO, did

  knowingly and willfully execute, and attempt to execute, the above-described scheme and artifice

  to defraud a health care benefit program, in that the defendant submitted and caused the submission

  of false and fraudulent claims to the Insurance Plans seeking the identified dollar amounts,

  representing that the services listed below were medically necessary and actually provided:

Count Patient      Insurer      Approx.         Approx.       Provider         Claim No. & Description
                             Claim Amount     Service Date     Name
         B.W.       BCBS         $925          08/26/2019      Florida    H100000763643482
                                                                Life      (Evaluation & Management)
         B.W.       BCBS         $2,200        08/26/2019      Florida    H1000007642333338 (Partial
                                                                Life      Hospitalization Services)
          J.M.      BCBS         $2,200       10/16/2019       Florida    Hl 00000773129842 (Partial
                                                                Life      Hospitalization Services)
         M.M.       BCBS         $2,200        11/30/2019      Florida    Hl 00000782015575 (Partial
                                                                Life      Hospitalization Services)
         M.M.       BCBS         $2,200        12/02/2019      Florida    H100000782468113 (Partial
                                                                Life      Hospitalization Services)

          In violation of Title 18, United States Code, Sections 1347 and 2.




                                                   16
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 17 of 22




                                                 COUNTS7-8
                                                  Wire Fraud
                                               (18 u.s.c. § 1343)

          1.      The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as if fully set forth herein.

          2.      From in or around April 2020, and continuing through in or around June 2020, in

  Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendant,

                                       ANGELICA PACHECO,

  did knowingly, and with intent to defraud, devise, and intend to devise, a scheme and artifice to

  defraud, and to obtain money and property by means of materially false and fraudulent pretenses,

  representations, and promises, knowing that the pretenses, representations, and promises were

  false and fraudulent when made, and, for the purpose of executing the scheme and artifice, did

  knowingly transmit and cause to be transmitted, by means of wire communication in interstate and

  foreign commerce, certain writings, signs, signals, pictures, and sounds.

                          PURPOSE OF THE SCHEME AND ARTIFICE

          3.      It was a purpose of the scheme and artifice for the defendant and her accomplices

  to unlawfully enrich themselves by: (a) submitting and causing the submission, via interstate wire

  communication, of false and fraudulent applications for loans made available through the SBA to

  provide relief for the economic effects caused by the COVID-19 pandemic, including a PPP loan

  and an EIDL; (b) concealing and causing the concealment of these false and fraudulent

  applications; and (c) diverting fraud proceeds for their personal use, the use and benefit of others,

  and to further the fraud.




                                                      17
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 18 of 22




                                        The Scheme and Artifice

         4.      On or about April 2, 2020, ANGELICA PACHECO caused the submission, via

  interstate wire communications, of an EIDL application in the name of Florida Life (the "EIDL

  Application"). The EIDL Application falsely represented, among other things, that Florida Life

  was "not engaged in any illegal activity."

         5.      On or about June 11, 2020, ANEGLICA PACHECO caused the submission, via

  interstate wire communications, of an EIDL Loan Authorization and Agreement (the "EIDL Loan

  Agreement"), for the EIDL in the approximate amount of $150,000. The EIDL Loan Agreement

  falsely certified that "[a]ll representations in the Borrower's Loan application (including all

  supplementary submissions) are true, correct and complete and are offered to induce SBA to make

  this Loan."

         6.      As a result of the false and fraudulent EIDL Application, SBA approved the EIDL.

  On or about June 15, 2020, in reliance on false representations made in the EIDL Application and

  EIDL Loan Agreement, the SBA deposited approximately $149,900 into a corporate bank account

  ending in 1999 held in the name of Florida Life.

         7.      On or about May 13, 2020, ANGELICA PACHECO caused the submission, via

  interstate wire communications, of a PPP loan application to Lender 1 in the name of Florida Life

  seeking a PPP loan in the amount of approximately $86,326 (the "PPP Application"). The PPP

  Application falsely represented that "[t]he Applicant is not engaged in an activity that is illegal

  under federal, state or local law."

      8. As a result of the false and fraudulent PPP Application, Lender 1 approved and funded the

  PPP loan. On or about May 15, 2020, Lender I transferred approximately $86,326 to a corporate

  bank account ending in 1999 held in the name of Florida Life.


                                                  18
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 19 of 22




                                               Use of Wires
     9. On or about the dates specified as to each count below, in Miami-Dade County, in the

  Southern District of Florida, and elsewhere, ANGELICA PACHECO, for the purpose of

  executing and in furtherance of the aforementioned scheme and artifice to defraud, did knowingly

  transmit and cause to be transmitted by means of wire communication in interstate and foreign

  commerce certain writings, signs, signals, pictures, and sounds, as described below:

        Count             Approx. Date                         Description of Wire
                                               Electronic transmission of the PPP Application from
                            5/13/2020          the Southern District of Florida to Lender 1 through
                                               servers outside of Florida.
                                               Electronic transmission of the EIDL Application
           8                6/11/2020          from the Southern District of Florida to the SBA,
                                               through servers outside of Florida.

                  In violation of Title 18, United States Code, Sections 1343 and 2.

                                   FORFEITURE ALLEGATIONS

         1.       The allegations of this Indictment are hereby re-alleged and by this reference fully

  incorporated herein for the purpose of alleging forfeiture to the United States of certain property

  in which the defendant ANGELICA PACHECO has an interest.

         2.       Upon a conviction of a federal health care offense in violation of Title 18, United

  States Code, Sections 1343, 1347, and/or 1349, as alleged in this Indictment, the defendant shall

 · forfeit to the United States any property, real or personal, that constitutes or is derived, directly or

  indirectly, from gross proceeds traceable to the commission of such offense, pursuant to Title 18,

  United States Code, Section 982(a)(7).

          3.      Upon conviction of a violation of Title 18, United States Code, Section 1343, as

  alleged in this Indictment, the defendant shall forfeit to the United States any property, real or

  personal, which constitutes or is derived from proceeds traceable to such offense, pursuant to Title

  18, United States Code, Section 98l(a)(l)(C).
                                                     19
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 20 of 22



         All pursuant to Title 18, United States Code, Sections 982(a)(7) and 982(a)(2)(A), and the

 procedures set forth at Title 21, United States Code, Section 853, as incorporated by Title 18,

  United States Code, Section 982(b)(l).

                                              A TRU� BIL�-----


                                              FOA




 UNITED STATES ATTORNEY
 SOUTHERN DISTRICT OF FLORIDA

  GLENN S. LEON
  CHIEF
  CRIMINAL DIVISION, FRAUD SECTION
  U.S. DEPARTMENT OF filSTICE


  JAMES �(YES
  ASSISTANT CHIEF
  CRIMINAL DIVISION, FRAUD SECTION
  U.S. DEPARTMENT OF filSTICE


  AISHA S
  TRIAL ATTO    Y
  CRIMINAL DIVISION, FRAUD SECTION
  U.S. DEPARTMENT OF filSTICE




                                                 20
      Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 21 of 22
                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                                      24-20253-CR-BECERRA/TORRES _
                                                                    CASE NO.: ____________

v.
                                                                    CERTIFICATE OF TRIAL ATTORNEY
ANGELICA PACHECO,
-------------    ---I                                               Superseding Case Information:
      Defendant.
Court Division (select one)                                         New Defendant(s) (Yes or No) __
   � Miami        D Key West                  □ FTP                 Number of New Defendants
      FTL □          WPB   □                                        Total number of new counts

I do hereby certify that:
     1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
              witnesses and the legal complexities of the Indictment/Information attached hereto.
     2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
              their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.       Interpreter: (Yes or No) No
              List language and/or dialect:   -------
     4.       This case will take � days for the parties to try.

     5.       Please check appropriate category and type of offense listed below:
              (Check only one)                         (Check only one)
              I    D Oto 5 days                     □ Petty
              II   □    6 to 10 days                □ Minor
              III [811 11 to 20 days                □ Misdemeanor
              IV   □   21 to 60 days                liR) Felony
              V D 61 days and over
     6.       Has this case been previously filed in this District Court? (Yes or No) No
              If yes, Judge ___________ Case No. _______________
     7.       Has a complaint been filed in this matter? (Yes or No) No
              If yes, Magistrate Case No. _________ _
     8.       Does this case relate to a previously filed matter in this District Court? (Yes or No) �
              If yes, Judge______ ____ Case No. ______________ _
     9.
     10.
              Defendant(s) in federal custody as of
              Defendant(s) in state custody as of
                                                        ---------------------
     11.      Rule 20 from the____ District of ________ _
     12.      Is this a potential death penalty case? (Yes or No) No
     13.      Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
              prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
     14.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
              to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
     15.      Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
              during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? No
     16.      Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
              Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024? No

                                                                  By:
                                                                                               v
                                                                          JAMES�S
                                                                          DOJ Trial Attorney
                                                                          Court ID No.     5501717
Case 1:24-cr-20253-JB Document 3 Entered on FLSD Docket 06/20/2024 Page 22 of 22



                             UNITED ST ATE S DISTRICT CO URT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PEN ALTY SHEE T


 Defendant's Name: ----�AN
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                                  I=      :;..;A
                                     A:.,;P    =-=
                                                 C=H=E=C
                                                       =O=------------

 Case No: _______________________________


 Count#:     1

    Title 18, United States Code, Section 1349

    Conspiracy to Commit Health Care Fraud and Wire Fraud
  *Max. Term of Imprisonment: 20 years
  *Mandatory Min. Term of Imprisonment (if applicable): N/A
  *Max.Supervised Release: 3 years
  *Max. Fine: $250,000 or twice the gross gain or loss from the offense

 Counts#: 2 6

    Title 18, United States Code, Section 1347

     Health Care Fraud
  *Max.Term of Imprisonment: 10 years as to each count
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  *Max. Supervised Release: 3 years
  *Max. Fine: $250,000 or twice the gross gain or loss from the offense

  Counts#:   7 8

     Title 18, United States Code, Section 1343

    Wire Fraud
 *Max.Term of Imprisonment: 20 years as to each count
 * Mandatory Min.Term of Imprisonment (if applicable}: N/A
 * Max.Supervised Release: 3 years
 *Max. Fine: $250,000 or twice the gross gain or loss from the offense




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
        restitution, special assessments, parole terms, or forfeitures that may be applicable.
